Case 2:20-cv-11718-GAD-DRG ECF No. 43-11, PagelD.1022 Filed 01/31/22 PaAXIFTRIT 7

WAYNE STATE

UNIVERSITY

November 27, 2018

Anthony Eid
Sent electronically to eh2083@wayne.edu

PERSONAL AND CONFIDENTIAL
Regarding Case Number: 2018039001
Dear Anthony,
I would like to meet with you for a Fact-Finding Conference to discuss concerns reported to me about your alleged
behavior on Wayne State University's campus which may be in violation of the Student Code of Conduct. I am
inviting you to join me, Nikolina Camaj, Associate Director & Student Conduct Officer, in a Fact-Finding
Conference on Friday, November 30, 2018 at 12:00pm in Dean of Students Office, Office 301.
When you report for our meeting, you must check in at the front desk of the Dean of Students Office, which is
located in room 301 of the Student Center. If your schedule does not allow you to meet with me at the designated
time, you must email me at nikolinacamaj@wayne.edu in order to make alternate arrangements within 48 hours of

receiving this notification.

Sincerely,

Nikolina Camaj
Associate Director and Student Conduct Officer, Dean of Students Office

 

Dean of Students Office
5221 Gullen Mall Phone: 313-577-1010 doso.wayne.edu

301 Student Center Fax: 313-577-8061
Detroit, Ml 48202

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